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ATTACHMENT R

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UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

No. 14-1825

United States v. Daniel Jenkins

To: Clerk

l) Motion by Appellee to Enforce Appe|late Waiver; for Summary
Affirmance and to Stay Issuance of a Briefing Schedule

2) Letter Motion by Attorney Michael V. Gilberti Requesting an Extension of
Time to File Appellant’s Pro Se Response in Opposition to the Motion to
Enforce Appellate Waiver and for Summary Affirrnance

3) Pro Se Motion by Appellant to Dismiss and Appoint New Counsel

 

The foregoing motions are considered. Insofar as counsel for Appellant has not
advanced any reasons against enforcement of the appellate waiver nor has counsel filed a
motion to withdraw as counsel, the request for extension of time to file Appellant’s pro se
response in opposition to the motion to enforce appellate waiver and for summary
affirmance is granted Appellant may file a pro se response within fourteen (14) days of
the date of this order to the Government’s motion to enforce appellate waiver and for
summary affirmance Upon the filing of Appellant’s pro se response, or the expiration of
time in which to file, the Government‘s motion, any response along with Appellant’s pro
se motion to dismiss and appoint new counsel will be submitted to a panel of the Court,
E U.S. v. Goodson, 544 F.3d 529, 534 n.2 (3d Cir.2008). The clerk will not issue a
briefing schedule unless the motion to enforce appellate waiver and for summary
affirmance is denied or referred to the merits panel.

For the Court,

s/ Marcia M. Waldron
Clerk

Dated: October 2, 2014
CJG/cc: Marl< E. Coyne, Esq.

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